     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 1 of 13 Page ID #:1



     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 3   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 4   scalequalaccess@yahoo.com
 5   Attorneys for Plaintiff
     KORTTNEY ELLIOTT
 6
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10   KORTTNEY ELLIOTT,                        Case No.:
11           Plaintiff,                       COMPLAINT FOR INJUNCTIVE
                                              RELIEF AND DAMAGES FOR
12         vs.                                VIOLATION OF:
13                                            1. AMERICANS WITH DISABILITIES
                                              ACT, 42 U.S.C. §12131 et seq.;
14   JOEUN ENTERPRISES, INC.; and DOES
                                              2. CALIFORNIA’S UNRUH CIVIL
15   1 through 10,                            RIGHTS ACT, CAL CIV. CODE §§ 51 -
                 Defendants.                  52 et seq.;
16
                                              3. CALIFORNIA’S DISABLED
17                                            PERSONS ACT, CAL CIV. CODE §54 et
                                              seq.
18
                                              4. CALIFORNIA HEALTH & SAFETY
19                                            CODE § 19955, et seq.
20                                            5. NEGLIGENCE
21
22
23
24
           Plaintiff KORTTNEY ELLIOTT (“Plaintiff”) complains of Defendants JOEUN
25
     ENTERPRISES, INC.; and DOES 1 through 10 (“Defendants”) and alleges as follows:
26
     //
27
     //
28




                                      COMPLAINT - 1
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 2 of 13 Page ID #:2




 1                                            PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from hemiplegia, is substantially limited in her ability to walk and requires the use of a
 4   wheelchair at all times when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a restaurant
 7   (“Business”) located at or about 1141 N. Mountain Ave., Ontario, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10   therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11   to amend this Complaint when the true names and capacities have been ascertained.
12   Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13   named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14   the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




                                            COMPLAINT - 2
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 3 of 13 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7   reside in this district, Los Angeles County, California.
 8                                  FACTUAL ALLEGATIONS
 9         10.    In or about December of 2022, Plaintiff went to the Business.
10         11.    The Business is a restaurant business establishment, open to the public, and
11   is a place of public accommodation and affects commerce through its operation.
12   Defendants provide parking spaces for customers.
13         12.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with her ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business.
16         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
17   included, but were not limited to, the following:
18                a.    Defendants failed to comply with the federal and state standards for
19                      the parking space designated for persons with disabilities. The height
20                      of the posted required signages was lower than the height allowed by
21                      the standards.
22                b.    Defendants failed to comply with the federal and state standards for
23                      the parking space designated for persons with disabilities. Defendants
24                      failed to post required signage such as “Minimum Fine $250.”
25                      Defendants also failed to post required signage such as “Unauthorized
26                      Parking.”
27                c.    Defendants failed to maintain the parking space designated for
28                      persons with disabilities to comply with the federal and state



                                           COMPLAINT - 3
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 4 of 13 Page ID #:4




 1                       standards. Defendants failed to maintain the paint on the ground as
 2                       required.
 3                d.     Defendants failed to maintain the parking space designated for
 4                       persons with disabilities to comply with the federal and state
 5                       standards. Defendants failed to maintain the mark on the space with
 6                       the International Symbol of Accessibility.
 7                e.     Defendants failed to maintain the parking space designated for
 8                       persons with disabilities to comply with the federal and state
 9                       standards. Defendants failed to provide the access aisles with level
10                       surface slopes.
11         14.    These barriers and conditions denied Plaintiff the full and equal access
12   to the Business and caused her difficulty and frustration. Plaintiff wishes to return and
13   patronize the Business, however, Plaintiff is deterred from visiting the Business because
14   her knowledge of these violations prevents her from returning until the barriers are
15   removed.
16         15.    Based on the violations, Plaintiff alleges, on information and belief, that
17   there are additional barriers to accessibility at the Business after further site inspection.
18   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
19   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
20         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
21   knew that particular barriers render the Business inaccessible, violate state and federal
22   law, and interfere with access for the physically disabled.
23         17.    At all relevant times, Defendants had and still have control and dominion
24   over the conditions at this location and had and still have the financial resources to
25   remove these barriers without much difficulty or expenses to make the Business
26   accessible to the physically disabled in compliance with ADDAG and Title 24
27   regulations. Defendants have not removed such barriers and have not modified the
28   Business to conform to accessibility regulations.



                                            COMPLAINT - 4
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 5 of 13 Page ID #:5




 1                                   FIRST CAUSE OF ACTION
 2       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



                                           COMPLAINT - 5
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 6 of 13 Page ID #:6




 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area are not disproportionate to the overall alterations in terms of cost
15                       and scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be van parking space. 2010 ADA Standards § 208.2.4.
22         22.    Under the ADA, the method and color of marking are to be addressed by
23   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24   Building Code (“CBC”), the parking space identification signs shall include the
25   International Symbol of Accessibility. Parking identification signs shall be reflectorized
26   with a minimum area of 70 square inches. Additional language or an additional sign
27   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28   parking space identification sign shall be permanently posted immediately adjacent and



                                            COMPLAINT - 6
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 7 of 13 Page ID #:7




 1   visible from each parking space, shall be located with its centerline a maximum of 12
 2   inches from the centerline of the parking space and may be posted on a wall at the
 3   interior end of the parking space. See CBC § 11B-502.6, et seq.
 4         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5   each entrance to an off-street parking facility or immediately adjacent to on-site
 6   accessible parking and visible from each parking space. The additional sign shall not be
 7   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9   designated accessible spaces not displaying distinguishing placards or special license
10   plates issued for persons with disabilities will be towed always at the owner’s expense…”
11   See CBC § 11B-502.8, et seq. Signs shall be 60 inches minimum above the finish floor or
12   ground surface measured to the bottom of the sign. 2010 ADA Standards § 502.6.
13         24.    Here, Defendants failed to provide signage stating “Minimum Fine $250.”
14   Moreover, the height of the posted required signage was lower than the height allowed by
15   the Standards. Moreover, Defendants failed to provide the additional sign with the
16   specific languages stating “Unauthorized vehicles parked in designated accessible spaces
17   not displaying distinguishing placards or special license plates issued for persons with
18   disabilities will be towed always at the owner’s expense…”
19         25.    For the parking spaces, access aisles shall be marked with a blue painted
20   borderline around their perimeter. The area within the blue borderlines shall be marked
21   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
22   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
23   be painted on the surface within each access aisle in white letters a minimum of 12 inches
24   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
25   11B-502.3.3.
26         26.    Here, Defendants failed to properly maintain the access aisles as there were
27   faded “NO PARKING” and faded blue lines painted on the parking surface.
28




                                           COMPLAINT - 7
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 8 of 13 Page ID #:8




 1         27.    The surface of each accessible car and van space shall have surface
 2   identification complying with either of the following options: The outline of a profile
 3   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 4   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 5   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 6   length of the parking space and its lower side or corner aligned with the end of the
 7   parking space length or by outlining or painting the parking space in blue and outlining
 8   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 9   occupant. See CBC § 11B-502.6.4, et seq.
10         28.    Here, Defendants failed to maintain the mark on the surface with the
11   International Symbol of Accessibility as required.
12         29.    Under the 1991 Standards, parking spaces and access aisles must be level
13   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
14   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
15   shall be part of an accessible route to the building or facility entrance and shall comply
16   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
17   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
18   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
19   directions. 1991 Standards § 4.6.3.
20         30.    Here, the access aisle is not level with the parking space. Under the 2010
21   Standards, access aisles shall be at the same level as the parking spaces they serve.
22   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
23   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
24   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
25         31.    A public accommodation shall maintain in operable working condition those
26   features of facilities and equipment that are required to be readily accessible to and usable
27   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
28




                                            COMPLAINT - 8
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 9 of 13 Page ID #:9




 1         32.      By failing to maintain the facility to be readily accessible and usable by
 2   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 3   regulations.
 4         33.      The Business has denied and continues to deny full and equal access to
 5   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6   discriminated against due to the lack of accessible facilities, and therefore, seeks
 7   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8   by individuals with disabilities.
 9                                 SECOND CAUSE OF ACTION
10                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11         34.      Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
14   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15   national origin, disability, medical condition, genetic information, marital status, sexual
16   orientation, citizenship, primary language, or immigration status are entitled to the full
17   and equal accommodations, advantages, facilities, privileges, or services in all business
18   establishments of every kind whatsoever.”
19         36.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21   for each and every offense for the actual damages, and any amount that may be
22   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24   attorney’s fees that may be determined by the court in addition thereto, suffered by any
25   person denied the rights provided in Section 51, 51.5, or 51.6.
26         37.      California Civil Code § 51(f) specifies, “a violation of the right of any
27   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28   shall also constitute a violation of this section.”



                                             COMPLAINT - 9
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 10 of 13 Page ID #:10




 1         38.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, facilities, privileges, or services by
 3   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5   51 and 52.
 6         39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8   damages as specified in California Civil Code §55.56(a)-(c).
 9                                 THIRD CAUSE OF ACTION
10                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11         40.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14   entitled to full and equal access, as other members of the general public, to
15   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20   places of public accommodations, amusement, or resort, and other places in which the
21   general public is invited, subject only to the conditions and limitations established by
22   law, or state or federal regulation, and applicable alike to all persons.
23         42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24   corporation who denies or interferes with admittance to or enjoyment of public facilities
25   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27   the actual damages, and any amount as may be determined by a jury, or a court sitting
28   without a jury, up to a maximum of three times the amount of actual damages but in no



                                           COMPLAINT - 10
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 11 of 13 Page ID #:11




 1   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2   determined by the court in addition thereto, suffered by any person denied the rights
 3   provided in Section 54, 54.1, and 54.2.
 4         43.    California Civil Code § 54(d) specifies, “a violation of the right of an
 5   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6   constitute a violation of this section, and nothing in this section shall be construed to limit
 7   the access of any person in violation of that act.
 8         44.    The actions and omissions of Defendants alleged herein constitute a denial
 9   of full and equal accommodation, advantages, and facilities by physically disabled
10   persons within the meaning of California Civil Code § 54. Defendants have
11   discriminated against Plaintiff in violation of California Civil Code § 54.
12         45.    The violations of the California Disabled Persons Act caused Plaintiff to
13   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14   statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                FOURTH CAUSE OF ACTION
16                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
17         46.    Plaintiff incorporates by reference each of the allegations in all prior
18   paragraphs in this complaint.
19         47.    Plaintiff and other similar physically disabled persons who require the use of
20   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
21   such facility is in compliance with the provisions of California Health & Safety Code §
22   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
23   provisions of California Health & Safety Code § 19955 et seq.
24         48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
25   that public accommodations or facilities constructed in this state with private funds
26   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
27   Title 1 of the Government Code. The code relating to such public accommodations also
28   require that “when sanitary facilities are made available for the public, clients, or



                                           COMPLAINT - 11
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 12 of 13 Page ID #:12




 1   employees in these stations, centers, or buildings, they shall be made available for
 2   persons with disabilities.
 3          49.    Title II of the ADA holds as a “general rule” that no individual shall be
 4   discriminated against on the basis of disability in the full and equal enjoyment of goods
 5   (or use), services, facilities, privileges, and accommodations offered by any person who
 6   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 7   Further, each and every violation of the ADA also constitutes a separate and distinct
 8   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 9   award of damages and injunctive relief pursuant to California law, including but not
10   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
11                                   FIFTH CAUSE OF ACTION
12                                         NEGLIGENCE
13          50.    Plaintiff incorporates by reference each of the allegations in all prior
14   paragraphs in this complaint.
15          51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17   to the Plaintiff.
18          52.    Defendants breached their duty of care by violating the provisions of ADA,
19   Unruh Civil Rights Act and California Disabled Persons Act.
20          53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21   has suffered damages.
22                                     PRAYER FOR RELIEF
23          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24   Defendants as follows:
25          1.     For preliminary and permanent injunction directing Defendants to comply
26   with the Americans with Disability Act and the Unruh Civil Rights Act;
27          2.     Award of all appropriate damages, including but not limited to statutory
28   damages, general damages and treble damages in amounts, according to proof;



                                            COMPLAINT - 12
     Case 2:23-cv-01743-SB-PD Document 1 Filed 03/08/23 Page 13 of 13 Page ID #:13




 1         3.     Award of all reasonable restitution for Defendants’ unfair competition
 2   practices;
 3         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4   action;
 5         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6         6.     Such other and further relief as the Court deems just and proper.
 7                              DEMAND FOR TRIAL BY JURY
 8         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 9   demands a trial by jury on all issues so triable.
10
11
12   Dated: March 8, 2023                    SO. CAL. EQUAL ACCESS GROUP
13
14
15                                           By:    _/s/ Jason J. Kim____________
                                                    Jason J. Kim, Esq.
16                                                  Attorneys for Plaintiff
17
18
19
20
21
22
23
24
25
26
27
28




                                           COMPLAINT - 13
